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           EXHIBIT 3
Case        Case: 20-1880 Document:
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                            ECF No. 7-1
                                No. 50-4,  Filed:
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                                            No. 20-1880

                            UNITED STATES COURT OF APPEALS                                FILED
                                                                                    Sep 16, 2020
                                 FOR THE SIXTH CIRCUIT
                                                                               DEBORAH S. HUNT, Clerk


 In re: SHANE ANDERS,                                  )
                                                       )              ORDER
        Petitioner.                                    )




        Before: MERRITT, GILMAN, and NALBANDIAN, Circuit Judges.

        Shane Anders petitions this Court for a writ of mandamus requiring the district court to

 expedite its decision on his ex parte motion for a temporary restraining order or preliminary

 injunction. He claims that his right to be on the November 3, 2020, ballot in Michigan has been

 denied by the Wayne County Board of Canvassers. After considering the responses by the

 district court and opposing party, we determine that he cannot meet the standard for a writ of

 mandamus, and we DENY his petition.

        “Mandamus is a drastic remedy that should be invoked only in extraordinary cases where

 there is a clear and indisputable right to the relief sought.” United States v. Young, 424 F.3d 499,

 504 (6th Cir. 2005). Petitioners must “demonstrate a clear abuse of discretion or conduct

 amounting to usurpation of the judicial power to be entitled to issuance of the writ.” Mallard v.

 United States Dist. Court for S. Dist., 490 U.S. 296, 309 (1989) (cleaned up). “And, because

 mandamus is a discretionary remedy, a Court may decline to issue the writ if it finds that it

 would not be ‘appropriate under the circumstances’ even if the petitioner has shown he is

 ‘clearly and indisputably’ entitled to it.” In re Professionals Direct Ins. Co., 578 F.3d 432, 437

 (6th Cir. 2009) (quoting Cheney v. U.S. Dist. Court, 542 U.S. 367, 381 (2004) (alterations

 removed)).
Case        Case: 20-1880 Document:
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        Anders is not asking us to require the district court to issue a TRO or injunction. Rather,

 he asks us to require the trial court to expedite the decision on his motion—though he spends

 most of his briefing on the merits of his case. “[D]istrict courts ordinarily enjoy broad discretion

 in matters of pretrial management, scheduling, and docket control.” Kimble v. Hoso, 439 F.3d

 331, 336 (6th Cir. 2006). And we will not lightly command the district court to alter its schedule.

 Anders has not explained why this case warrants interference with the district court’s power,

 especially when the purported deadline, according to him, was several days ago on September 9.

 (R. 23, Motion to Expedite, PageID 865.)

        He also does not explain why, in the face of the alleged emergency, he waited four days

 after knowing about his cause of action to file the motion for a TRO or injunction, filing just

 twenty-one hours before his claimed deadline. He then waited another three days after the district

 court denied his motion to expedite before asking this Court for relief. This combined total of

 seven days’ delay suggests that Anders’s claimed urgency is better explained by vexatious

 litigation strategy than true emergency. In addition, our review of the trial court’s docket and the

 trial court’s response reveals that the court has been diligent in addressing Anders’s numerous

 motions and filings and had sound reasons for denying the motion to expedite.

        Anders fails to cite anything supporting his right to expedited resolution; instead he

 focuses on the merits of his case. And with regard to the merits, we doubt the validity of his

 claims. He asserts that Michigan law requiring a minimum number of votes for nomination in a

 primary is unconstitutionally vague because it does not specify the minimum thresholds for

 write-on candidates. See Mich. Comp. Laws § 168.582. He also claims that election officials

 denied him his rightful position on the general-election ballot by not completing a recount as

 they should have. But Anders cannot establish an indisputable right to the TRO or injunction on

 either of these claims.
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         For one, § 168.582 does not appear vague. It states that it applies to a “person who is

 voted for on a party ballot for a . . . county . . . office . . . whose name is not printed on the ballot

 and who has not filed a nominating petition for the office voted for.” That describes a write-in

 candidate. The statute also establishes the minimum vote thresholds for nomination:

     •   “[N]ot less than .15 of 1% of the total population, as reflected by the last official federal

         census, of the district for which nomination is sought,” and

     •   Not less than whichever of these is greater: “10 votes for the office,” or “a total vote

         equal to 5% of the greatest number of votes cast by the party for any office at the primary

         in the state, congressional, or other district, township, county, city, or ward, for a

         candidate or for all candidates for nomination for an office for which only 1 person is to

         be nominated[.]”

 As the Board has noted in a motion to dismiss in the district court, those numbers for Anders’s

 nomination are, respectively, 2,730 votes; 10 votes; and 4,073 votes.

         And because Michigan law specifies the minimum threshold of votes for nomination—

 being the highest of the above three numbers—Anders is nowhere near qualifying for

 nomination with only eleven votes. So even if he were to succeed on his claim that the recount

 was done incorrectly, he would not be entitled to a place on the ballot. At the very least, this

 undermines his claim of entitlement to relief, which makes a writ of mandamus improper.

         Accordingly, Anders’s petition for writ of mandamus is DENIED.

                                                  ENTERED BY ORDER OF THE COURT




                                                  Deborah S. Hunt, Clerk
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Case 2:20-cv-12127-NGE-APP
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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
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                                                 Filed: September 16, 2020




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                      Re: Case No. 20-1880, In re: Shane Anders
                          Originating Case No. : 2:20-cv-12127

 Dear Counsel,

    The Court issued the enclosed Order today in this case.

                                                 Sincerely yours,

                                                 s/Jill E Colyer
                                                 Case Manager
                                                 Direct Dial No. 513-564-7024

 cc: Mr. David J. Weaver

 Enclosure

 No mandate to issue
